UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 PDV USA, INC.

               Plaintiff,                                   No. 20-cv-03699-JGK

                       v.

 INTERAMERICAN CONSULTING, INC.

               Defendant.


                       DECLARATION OF SHIRA LAUREN FELDMAN

       I, Shira Lauren Feldman, hereby declare as follows:

       1.       I am a partner at the law firm of Hecht Partners LLP, counsel of record for Defendant

Interamerican Consulting, Inc. in the above-captioned action. I make this declaration based upon

my personal knowledge of the facts asserted herein, and if called to testify, I could and would testify

competently thereto.

       2.       I submit this declaration in connection with my Notice of Motion and Motion for

Withdrawal of Appearance.

       3.       I am moving to withdraw beause I am leaving the law firm of Hecht Partners LLP.

       4.       I am not asserting a retaining or charging lien in connection with this action.

       5.       No delay in the progress of this action is expected from my withdrawal. Kathryn

Lee Boyd will continue to appear as counsel from Hecht Partners LLP on behalf of Defendant in

this action.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.
Dated: April 8, 2022
       New York, New York

                            Respectfully submitted,

                             /s/ Shira Lauren Feldman
                            Shira Lauren Feldman
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                            Counsel for Defendant




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